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 6   Interim Lead Counsel for Indirect-Purchaser Plaintiffs

 7   [Additional Counsel Listed on Signature Page]

 8

 9                             UNITED STATES DISTRICT COURT

10                          NORTHERN DISTRICT OF CALIFORNIA

11                                 SAN FRANCISCO DIVISION

12   IN RE: CATHODE RAY TUBE (CRT)                   Master File No. CV-07-5944-SC
     ANTITRUST LITIGATION
                                                     MDL No. 1917
13
                                                     NOTICE OF MOTION AND MOTION
14                                                   OF INDIRECT-PURCHASER
                                                     PLAINTIFFS FOR CLASS
15   This Document Relates to:                       CERTIFICATION
16   ALL INDIRECT-PURCHASER ACTIONS                  ORAL ARGUMENT REQUESTED
17                                                   Date: TBD
                                                     Time: TBD
18                                                   Before: Hon. Charles A. Legge (Ret.)
                                                             Special Master
19
                                                     The Honorable Samuel Conti
20

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                NOTICE OF MOTION AND MOTION OF INDIRECT-PURCHASER PLAINTIFFS
              FOR CLASS CERTIFICATION — MASTER FILE NO. CV-07-5944-SC, MDL NO. 1917
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 1                              NOTICE OF MOTION AND MOTION

 2   TO THE PARTIES AND THEIR ATTORNEYS OF RECORD:

 3          PLEASE TAKE NOTICE that on a date and time to be determined by the Court,

 4   before the Honorable Charles A. Legge, Special Master, at JAMS, Two Embarcadero Center,

 5   Suite 1500, San Francisco, CA 94111, Indirect-Purchaser Plaintiffs will and hereby do move

 6   for class certification pursuant to Rule 23 of the Federal Rules of Civil Procedure.

 7          The Indirect-Purchaser Plaintiffs seek certification of the following state classes (the

 8   “Indirect-Purchaser Statewide Classes”) for damages pursuant to Federal Rule of Civil

 9   Procedure 23 (b)(3), in accordance with the laws of each of the states:

10          ARIZONA:

11          All persons and entities in Arizona who, from March 1, 1995 to
            November 25, 2007, as residents of Arizona, purchased Cathode Ray
12          Tubes incorporated in televisions and monitors in Arizona indirectly
            from any defendant or subsidiary thereof, or any named affiliate or any
13          named co-conspirator, for their own use and not for resale. Specifically
            excluded from this Class are defendants; the officers, directors, or
14          employees of any defendant; the parent companies and subsidiaries of
            any defendant; the legal representatives and heirs or assigns of any
15          defendant; and the named affiliates and co-conspirators. Also excluded
            are any federal, state, or local governmental entities, any judicial officers
16          presiding over this action, members of their immediate families and
            judicial staffs, and any juror assigned to this action. (The “Arizona
17          Indirect-Purchaser Class.”)

18          CALIFORNIA:
19          All persons and entities in California who, from March 1, 1995 to
            November 25, 2007, as residents of California, purchased Cathode Ray
20          Tubes incorporated in televisions and monitors in California indirectly
            from any defendant or subsidiary thereof, or any named affiliate or any
21          named co-conspirator, for their own use and not for resale. Specifically
            excluded from this Class are defendants; the officers, directors, or
22          employees of any defendant; the parent companies and subsidiaries of
            any defendant; the legal representatives and heirs or assigns of any
23          defendant; and the named affiliates and co-conspirators. Also excluded
            are any federal, state, or local governmental entities, any judicial officers
24          presiding over this action, members of their immediate families and
            judicial staffs, and any juror assigned to this action. (The “California
25          Indirect-Purchaser Class.”)

26          DISTRICT OF COLUMBIA:
27          All persons and entities in the District of Columbia who, from March 1,
            1995 to November 25, 2007, as residents of the District of Columbia,
28          purchased Cathode Ray Tubes incorporated in televisions and monitors
                                                      2
                NOTICE OF MOTION AND MOTION OF INDIRECT-PURCHASER PLAINTIFFS
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 1       in the District of Columbia indirectly from any defendant or subsidiary
         thereof, or any named affiliate or any named co-conspirator, for their
 2       own use and not for resale. Specifically excluded from this Class are
         defendants; the officers, directors, or employees of any defendant; the
 3       parent companies and subsidiaries of any defendant; the legal
         representatives and heirs or assigns of any defendant; and the named
 4       affiliates and co-conspirators. Also excluded are any federal, state, or
         local governmental entities, any judicial officers presiding over this
 5       action, members of their immediate families and judicial staffs, and any
         juror assigned to this action. (The “D.C. Indirect-Purchaser Class.”)
 6
         FLORIDA:
 7
         All persons and entities in Florida who, from March 1, 1995 to
 8       November 25, 2007, as residents of Florida, purchased Cathode Ray
         Tubes incorporated in televisions and monitors in Florida indirectly from
 9       any defendant or subsidiary thereof, or any named affiliate or any named
         co-conspirator, for their own use and not for resale. Specifically
10       excluded from this Class are defendants; the officers, directors, or
         employees of any defendant; the parent companies and subsidiaries of
11       any defendant; the legal representatives and heirs or assigns of any
         defendant; and the named affiliates and co-conspirators. Also excluded
12       are any federal, state, or local governmental entities, any judicial officers
         presiding over this action, members of their immediate families and
13       judicial staffs, and any juror assigned to this action. (The “Florida
         Indirect-Purchaser Class.”)
14
         HAWAII:
15
         All persons and entities in Hawaii who, from June 25, 2002 to November
16       25, 2007, as residents of Hawaii, purchased Cathode Ray Tubes
         incorporated in televisions and monitors in Hawaii indirectly from any
17       defendant or subsidiary thereof, or any named affiliate or any named co-
         conspirator, for their own use and not for resale. Specifically excluded
18       from this Class are defendants; the officers, directors, or employees of
         any defendant; the parent companies and subsidiaries of any defendant;
19       the legal representatives and heirs or assigns of any defendant; and the
         named affiliates and co-conspirators. Also excluded are any federal,
20       state, or local governmental entities, any judicial officers presiding over
         this action, members of their immediate families and judicial staffs, and
21       any juror assigned to this action. (The “Hawaii Indirect-Purchaser
         Class.”)
22
         IOWA:
23
         All persons and entities in Iowa who, from March 1, 1995 to November
24       25, 2007, as residents of Iowa, purchased Cathode Ray Tubes
         incorporated in televisions and monitors in Iowa indirectly from any
25       defendant or subsidiary thereof, or any named affiliate or any named co-
         conspirator, for their own use and not for resale. Specifically excluded
26       from this Class are defendants; the officers, directors, or employees of
         any defendant; the parent companies and subsidiaries of any defendant;
27       the legal representatives and heirs or assigns of any defendant; and the
         named affiliates and co-conspirators. Also excluded are any federal,
28       state, or local governmental entities, any judicial officers presiding over
                                                   3
             NOTICE OF MOTION AND MOTION OF INDIRECT-PURCHASER PLAINTIFFS
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 1       this action, members of their immediate families and judicial staffs, and
         any juror assigned to this action. (The “Iowa Indirect-Purchaser Class.”)
 2
         KANSAS:
 3
         All persons and entities in Kansas who, from March 1, 1995 to
 4       November 25, 2007, as residents of Kansas, purchased Cathode Ray
         Tubes incorporated in televisions and monitors in Kansas indirectly from
 5       any defendant or subsidiary thereof, or any named affiliate or any named
         co-conspirator, for their own use and not for resale. Specifically
 6       excluded from this Class are defendants; the officers, directors, or
         employees of any defendant; the parent companies and subsidiaries of
 7       any defendant; the legal representatives and heirs or assigns of any
         defendant; and the named affiliates and co-conspirators. Also excluded
 8       are any federal, state, or local governmental entities, any judicial officers
         presiding over this action, members of their immediate families and
 9       judicial staffs, and any juror assigned to this action. (The “Kansas
         Indirect-Purchaser Class.”)
10
         MAINE:
11
         All persons and entities in Maine who, from March 1, 1995 to November
12       25, 2007, as residents of Maine, purchased Cathode Ray Tubes
         incorporated in televisions and monitors in Maine indirectly from any
13       defendant or subsidiary thereof, or any named affiliate or any named co-
         conspirator, for their own use and not for resale. Specifically excluded
14       from this Class are defendants; the officers, directors, or employees of
         any defendant; the parent companies and subsidiaries of any defendant;
15       the legal representatives and heirs or assigns of any defendant; and the
         named affiliates and co-conspirators. Also excluded are any federal,
16       state, or local governmental entities, any judicial officers presiding over
         this action, members of their immediate families and judicial staffs, and
17       any juror assigned to this action. Also excluded are any federal, state, or
         local governmental entities, any judicial officers presiding over this
18       action, members of their immediate families and judicial staffs, and any
         juror assigned to this action. (The “Maine Indirect-Purchaser Class.”)
19
         MICHIGAN:
20
         All persons and entities in Michigan who, from March 1, 1995 to
21       November 25, 2007, as residents of Michigan, purchased Cathode Ray
         Tubes incorporated in televisions and monitors in Michigan indirectly
22       from any defendant or subsidiary thereof, or any named affiliate or any
         named co-conspirator, for their own use and not for resale. Specifically
23       excluded from this Class are defendants; the officers, directors, or
         employees of any defendant; the parent companies and subsidiaries of
24       any defendant; the legal representatives and heirs or assigns of any
         defendant; and the named affiliates and co-conspirators. Also excluded
25       are any federal, state, or local governmental entities, any judicial officers
         presiding over this action, members of their immediate families and
26       judicial staffs, and any juror assigned to this action. (The “Michigan
         Indirect-Purchaser Class.”)
27
28
                                                   4
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 1
         MINNESOTA:
 2
         All persons and entities in Minnesota who, from March 1, 1995 to
 3       November 25, 2007, as residents of Minnesota, purchased Cathode Ray
         Tubes incorporated in televisions and monitors in Minnesota indirectly
 4       from any defendant or subsidiary thereof, or any named affiliate or any
         named co-conspirator, for their own use and not for resale. Specifically
 5       excluded from this Class are defendants; the officers, directors, or
         employees of any defendant; the parent companies and subsidiaries of
 6       any defendant; the legal representatives and heirs or assigns of any
         defendant; and the named affiliates and co-conspirators. Also excluded
 7       are any federal, state, or local governmental entities, any judicial officers
         presiding over this action, members of their immediate families and
 8       judicial staffs, and any juror assigned to this action. (The “Minnesota
         Indirect-Purchaser Class.”)
 9
         MISSISSIPPI:
10
         All persons and entities in Mississippi who, from March 1, 1995 to
11       November 25, 2007, as residents of Mississippi, purchased Cathode Ray
         Tubes incorporated in televisions and monitors in Mississippi indirectly
12       from any defendant or subsidiary thereof, or any named affiliate or any
         named co-conspirator, for their own use and not for resale. Specifically
13       excluded from this Class are defendants; the officers, directors, or
         employees of any defendant; the parent companies and subsidiaries of
14       any defendant; the legal representatives and heirs or assigns of any
         defendant; and the named affiliates and co-conspirators. Also excluded
15       are any federal, state, or local governmental entities, any judicial officers
         presiding over this action, members of their immediate families and
16       judicial staffs, and any juror assigned to this action. (The “Mississippi
         Indirect-Purchaser Class.”)
17
         NEBRASKA:
18
         All persons and entities in Nebraska who, from July 20, 2002 to
19       November 25, 2007, as residents of Nebraska, purchased Cathode Ray
         Tubes incorporated in televisions and monitors in Nebraska indirectly
20       from any defendant or subsidiary thereof, or any named affiliate or any
         named co-conspirator, for their own use and not for resale. Specifically
21       excluded from this Class are defendants; the officers, directors, or
         employees of any defendant; the parent companies and subsidiaries of
22       any defendant; the legal representatives and heirs or assigns of any
         defendant; and the named affiliates and co-conspirators. Also excluded
23       are any federal, state, or local governmental entities, any judicial officers
         presiding over this action, members of their immediate families and
24       judicial staffs, and any juror assigned to this action. (The “Nebraska
         Indirect-Purchaser Class.”)
25
         NEVADA:
26
         All persons and entities in Nevada who, from February 4, 1999 to
27       November 25, 2007, as residents of Nevada, purchased Cathode Ray
         Tubes incorporated in televisions and monitors in Nevada indirectly
28       from any defendant or subsidiary thereof, or any named affiliate or any
                                                   5
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 1       named co-conspirator, for their own use and not for resale. Specifically
         excluded from this Class are defendants; the officers, directors, or
 2       employees of any defendant; the parent companies and subsidiaries of
         any defendant; the legal representatives and heirs or assigns of any
 3       defendant; and the named affiliates and co-conspirators. Also excluded
         are any federal, state, or local governmental entities, any judicial officers
 4       presiding over this action, members of their immediate families and
         judicial staffs, and any juror assigned to this action. (The “Nevada
 5       Indirect-Purchaser Class.”)

 6       NEW MEXICO:

 7       All persons and entities in New Mexico who, from March 1, 1995 to
         November 25, 2007, as residents of New Mexico, purchased Cathode
 8       Ray Tubes incorporated in televisions and monitors in New Mexico
         indirectly from any defendant or subsidiary thereof, or any named
 9       affiliate or any named co-conspirator, for their own use and not for
         resale. Specifically excluded from this Class are defendants; the
10       officers, directors, or employees of any defendant; the parent companies
         and subsidiaries of any defendant; the legal representatives and heirs or
11       assigns of any defendant; and the named affiliates and co-conspirators.
         Also excluded are any federal, state, or local governmental entities, any
12       judicial officers presiding over this action, members of their immediate
         families and judicial staffs, and any juror assigned to this action. (The
13       “New Mexico Indirect-Purchaser Class.”)

14       NEW YORK:

15       All persons and entities in New York who, from March 1, 1995 to
         November 25, 2007, as residents of New York, purchased Cathode Ray
16       Tubes incorporated in televisions and monitors in New York indirectly
         from any defendant or subsidiary thereof, or any named affiliate or any
17       named co-conspirator, for their own use and not for resale. Specifically
         excluded from this Class are defendants; the officers, directors, or
18       employees of any defendant; the parent companies and subsidiaries of
         any defendant; the legal representatives and heirs or assigns of any
19       defendant; and the named affiliates and co-conspirators. Also excluded
         are any federal, state, or local governmental entities, any judicial officers
20       presiding over this action, members of their immediate families and
         judicial staffs, and any juror assigned to this action. (The “New York
21       Indirect-Purchaser Class.”)

22       NORTH CAROLINA:

23       All persons and entities in North Carolina who, from March 1, 1995 to
         November 25, 2007, as residents of North Carolina, purchased Cathode
24       Ray Tubes incorporated in televisions and monitors in North Carolina
         indirectly from any defendant or subsidiary thereof, or any named
25       affiliate or any named co-conspirator, for their own use and not for
         resale. Specifically excluded from this Class are defendants; the
26       officers, directors, or employees of any defendant; the parent companies
         and subsidiaries of any defendant; the legal representatives and heirs or
27       assigns of any defendant; and the named affiliates and co-conspirators.
         Also excluded are any federal, state, or local governmental entities, any
28       judicial officers presiding over this action, members of their immediate
                                                   6
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 1       families and judicial staffs, and any juror assigned to this action. (The
         “North Carolina Indirect-Purchaser Class.”)
 2
         NORTH DAKOTA:
 3
         All persons and entities in North Dakota who, from March 1, 1995 to
 4       November 25, 2007, as residents of North Dakota, purchased Cathode
         Ray Tubes incorporated in televisions and monitors in North Dakota
 5       indirectly from any defendant or subsidiary thereof, or any named
         affiliate or any named co-conspirator, for their own use and not for
 6       resale. Specifically excluded from this Class are defendants; the
         officers, directors, or employees of any defendant; the parent companies
 7       and subsidiaries of any defendant; the legal representatives and heirs or
         assigns of any defendant; and the named affiliates and co-conspirators.
 8       Also excluded are any federal, state, or local governmental entities, any
         judicial officers presiding over this action, members of their immediate
 9       families and judicial staffs, and any juror assigned to this action. (The
         “North Dakota Indirect-Purchaser Class.”)
10
         SOUTH DAKOTA:
11
         All persons and entities in South Dakota who, from March 1, 1995 to
12       November 25, 2007, as residents of South Dakota, purchased Cathode
         Ray Tubes incorporated in televisions and monitors in South Dakota
13       indirectly from any defendant or subsidiary thereof, or any named
         affiliate or any named co-conspirator, for their own use and not for
14       resale. Specifically excluded from this Class are defendants; the
         officers, directors, or employees of any defendant; the parent companies
15       and subsidiaries of any defendant; the legal representatives and heirs or
         assigns of any defendant; and the named affiliates and co-conspirators.
16       Also excluded are any federal, state, or local governmental entities, any
         judicial officers presiding over this action, members of their immediate
17       families and judicial staffs, and any juror assigned to this action. (The
         “South Dakota Indirect-Purchaser Class.”)
18
         TENNESSEE:
19
         All persons and entities in Tennessee who, from March 1, 1995 to
20       November 25, 2007, as residents of Tennessee, purchased Cathode Ray
         Tubes incorporated in televisions and monitors in Tennessee indirectly
21       from any defendant or subsidiary thereof, or any named affiliate or any
         named co-conspirator, for their own use and not for resale. Specifically
22       excluded from this Class are defendants; the officers, directors, or
         employees of any defendant; the parent companies and subsidiaries of
23       any defendant; the legal representatives and heirs or assigns of any
         defendant; and the named affiliates and co-conspirators. Also excluded
24       are any federal, state, or local governmental entities, any judicial officers
         presiding over this action, members of their immediate families and
25       judicial staffs, and any juror assigned to this action. (The “Tennessee
         Indirect-Purchaser Class.”)
26
         VERMONT:
27
         All persons and entities in Vermont who, from March 1, 1995 to
28       November 25, 2007, as residents of Vermont, purchased Cathode Ray
                                               7
             NOTICE OF MOTION AND MOTION OF INDIRECT-PURCHASER PLAINTIFFS
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 1          Tubes incorporated in televisions and monitors in Vermont indirectly
            from any defendant or subsidiary thereof, or any named affiliate or any
 2          named co-conspirator, for their own use and not for resale. Specifically
            excluded from this Class are defendants; the officers, directors, or
 3          employees of any defendant; the parent companies and subsidiaries of
            any defendant; the legal representatives and heirs or assigns of any
 4          defendant; and the named affiliates and co-conspirators. Also excluded
            are any federal, state, or local governmental entities, any judicial officers
 5          presiding over this action, members of their immediate families and
            judicial staffs, and any juror assigned to this action. (The “Vermont
 6          Indirect-Purchaser Class.”)

 7          WEST VIRGINIA:

 8          All persons and entities in West Virginia who, from March 1, 1995 to
            November 25, 2007, as residents of West Virginia, purchased Cathode
 9          Ray Tubes incorporated in televisions and monitors in West Virginia
            indirectly from any defendant or subsidiary thereof, or any named
10          affiliate or any named co-conspirator, for their own use and not for
            resale. Specifically excluded from this Class are defendants; the
11          officers, directors, or employees of any defendant; the parent companies
            and subsidiaries of any defendant; the legal representatives and heirs or
12          assigns of any defendant; and the named affiliates and co-conspirators.
            Also excluded are any federal, state, or local governmental entities, any
13          judicial officers presiding over this action, members of their immediate
            families and judicial staffs, and any juror assigned to this action. (The
14          “West Virginia Indirect-Purchaser Class.”)

15          WISCONSIN:

16          All persons and entities in Wisconsin who, from March 1, 1995 to
            November 25, 2007, as residents of Wisconsin, purchased Cathode Ray
17          Tubes incorporated in televisions and monitors in Wisconsin indirectly
            from any defendant or subsidiary thereof, or any named affiliate or any
18          named co-conspirator, for their own use and not for resale. Specifically
            excluded from this Class are defendants; the officers, directors, or
19          employees of any defendant; the parent companies and subsidiaries of
            any defendant; the legal representatives and heirs or assigns of any
20          defendant; and the named affiliates and co-conspirators. Also excluded
            are any federal, state, or local governmental entities, any judicial officers
21          presiding over this action, members of their immediate families and
            judicial staffs, and any juror assigned to this action. (The “Wisconsin
22          Indirect-Purchaser Class.”)

23          The Indirect-Purchaser Plaintiffs also seek an order appointing the following

24   individuals and entities as class representatives:

25            State                     Plaintiff
              Arizona                   Brian Luscher
26
              California                Steven Ganz
27            California                Jeffrey Figone
              District of Columbia      Lawyer’s Choice Suites, Inc.
28            Florida                   David Rooks
                                                     8
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 1            Hawaii                    Daniel Riebow
              Iowa                      Travis Burau
 2            Kansas                    Southern Office Supply, Inc.
 3            Maine                     Kerry Lee Hall
              Michigan                  Lisa Reynolds
 4            Minnesota                 Barry Kushner
              Minnesota                 David Norby
 5            Mississippi               Charles Jenkins
              Nebraska                  Steven Fink
 6
              Nevada                    Gloria Comeaux
 7            New Mexico                Craig Stephenson
              New York                  Janet Ackerman
 8            New York                  Louise Wood
              North Carolina            Patricia Andrews
 9            North Dakota              Gary Hanson
10            South Dakota              Jeffrey Speaect
              Tennessee                 Frank Warner
11            Tennessee                 Albert Sidney Crigler
              Vermont                   Margaret Slagle
12            West Virginia             John March
              Wisconsin                 Brigid Terry
13

14          In addition, the Indirect-Purchaser Plaintiffs move for an order appointing Trump,
15   Alioto, Trump & Prescott LLP as Class Counsel pursuant to Fed. R. Civ. P. 23(g).
16          This motion is based on this “Notice of Motion and Motion,” the supporting
17   “Memorandum of Points and Authorities,” the “Declaration of Janet S. Netz,” the “Declaration
18   of Mario N. Alioto,” the “[Proposed] Order Granting Motion of Indirect-Purchaser Plaintiffs
19   for Class Certification,” the accompanying “Request for Judicial Notice,” all exhibits and
20   appendices to such documents, any papers filed in reply, any argument as may be presented at
21   the hearing, and all other papers and records on file in this matter.
22   Dated: October 1, 2012                         By: /s/ Mario N. Alioto
                                                       Mario N. Alioto (56433)
23                                                     Lauren C. Russell (241151)
                                                          TRUMP, ALIOTO, TRUMP & PRESCOTT LLP
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27
                                                          Interim Lead Counsel for Indirect-
28                                                        Purchaser Plaintiffs
                                                      9
                 NOTICE OF MOTION AND MOTION OF INDIRECT-PURCHASER PLAINTIFFS
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                                                   Craig C. Corbitt (83251)
 2                                                 Judith A. Zahid (215418)
                                                   Michael S. Christian (212716)
 3                                                 Qianwei Fu (242669)
                                                   Demetrius Lambrinos (246027)
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                                                   San Francisco, CA 94104
 6                                                 Telephone: (415) 693-0700
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13   Christopher Lovell                         Daniel E. Birkhaeuser
     Craig Essenmacher                          Jennifer S. Rosenberg
14   Keith Essenmacher                          BRAMSON, PLUTZIK, MAHLER &
     Merrick S. Rayle                           BIRKHAEUSER, LLP
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23                                              pnovak@milberg.com

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              FOR CLASS CERTIFICATION — MASTER FILE NO. CV-07-5944-SC, MDL NO. 1917
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               NOTICE OF MOTION AND MOTION OF INDIRECT-PURCHASER PLAINTIFFS
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